     Case 2:18-cr-00891-DMG Document 33 Filed 01/17/19 Page 1 of 2 Page ID #:113



 1

 2

 3

 4

 5

 6

 7

 8                           UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               No. CR 18-891-DMG

11             Plaintiff,                    CONTINUING TRIAL DATE AND FINDINGS
                                             REGARDING EXCLUDABLE TIME PERIODS
12                   v.                      PURSUANT TO SPEEDY TRIAL ACT [32]
13   ROBIN DIMAGGIO,                         JURY TRIAL DATE:
                                             7/23/2019 at 8:30 a.m.
14             Defendant.
                                             PRETRIAL CONFERENCE:
15                                           7/10/2019 at 2:30 p.m.
16

17        The Court has read and considered the Stipulation Regarding
18   Request for (1) Continuance of Trial Date and (2) Findings of
19   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
20   parties in this matter on January 16, 2019.         The Court hereby finds
21   that the Stipulation, which this Court incorporates by reference into
22   this Order, demonstrates facts that support a continuance of the
23   trial date in this matter, and provides good cause for a finding of
24   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
25        The Court further finds that:       (i) the ends of justice served by
26   the continuance outweigh the best interest of the public and
27   defendant in a speedy trial; (ii) failure to grant the continuance
28   would be likely to make a continuation of the proceeding impossible,
     Case 2:18-cr-00891-DMG Document 33 Filed 01/17/19 Page 2 of 2 Page ID #:114



 1   or result in a miscarriage of justice; and (iii) failure to grant the

 2   continuance would unreasonably deny defendant continuity of counsel

 3   and would deny defense counsel the reasonable time necessary for

 4   effective preparation, taking into account the exercise of due

 5   diligence.

 6        THEREFORE, FOR GOOD CAUSE SHOWN:

 7        1.     The trial in this matter is continued to July 23, 2019 at

 8   8:30 a.m.    The pretrial conference is continued to July 10, 2019 at

 9   2:30 p.m.

10        2.     The time period of February 20, 2019 through July 23, 2019,

11   inclusive, is excluded in computing the time within which the trial

12   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

13   and (B)(iv).

14        3.     Defendant shall appear in Courtroom 8C of the Federal

15   Courthouse, 350 West First Street, Los Angeles, California on July

16   10, 2019 at 2:00 P.M.

17        4.     Nothing in this Order shall preclude a finding that other

18   provisions of the Speedy Trial Act dictate that additional time

19   periods are excluded from the period within which trial must

20   commence.    Moreover, the same provisions and/or other provisions of

21   the Speedy Trial Act may in the future authorize the exclusion of

22   additional time periods from the period within which trial must

23   commence.

24        IT IS SO ORDERED.

25
      January 17, 2019
26    DATE                                    DOLLY M. GEE
                                              UNITED STATES DISTRICT JUDGE
27

28

                                          2
